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1    McGREGOR W. SCOTT
     United States Attorney
2    KENNETH J. MELIKIAN
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2700
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7
8                   IN THE UNITED STATES DISTRICT COURT FOR THE
9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           2:03-CR-00453 LKK
                                   )
12                  Plaintiff,     )           FINAL ORDER OF FORFEITURE
                                   )
13             v.                  )
                                   )
14   ROBERT DALE OSTERKAMP,        )
                                   )
15                  Defendant.     )
     ______________________________)
16
17        WHEREAS, on July 13, 2005, this Court entered a Preliminary
18   Order of Forfeiture pursuant to the provisions of 21 U.S.C. § 853(a)
19   based upon the plea agreement entered into between plaintiff and
20   defendant Robert Dale Osterkamp forfeiting to the United States the
21   following property:
22             a.     Approximately $18,700 in U.S. Currency, seized
                      on or about October 2, 2003, from the residence
23                    located at 102 Rio Del Mar, American Canyon,
                      California.
24
25        AND WHEREAS, on July 29, 2005, August 5, 2005 and August 12,
26   2005, the United States published notification of the Court's
27   Preliminary Order of Forfeiture in the Napa Register (Napa County),
28   a newspaper of general circulation located in the county in which

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1    the subject property was seized.      Said published notice advised all
2    third parties of their right to petition the court within thirty
3    (30) days of the publication date for a hearing to adjudicate the
4    validity of their alleged legal interest in the forfeited property;
5         AND WHEREAS, the United States has provided direct written
6    notice to Nancy Osterkamp;
7         AND WHEREAS, the Court has been advised that no third party has
8    filed a claim to the subject property, and the time for any person
9    or entity to file a claim has expired.
10        Accordingly, it is hereby ORDERED and ADJUDGED:
11        1.    A Final Order of Forfeiture shall be entered forfeiting to
12   the United States of America all right, title, and interest in the
13   above-listed property pursuant to 21 U.S.C. § 853(a), to be disposed
14   of according to law, including all right, title, and interest of
15   Robert Dale Osterkamp.
16        2.    All right, title, and interest in the above-described
17   property shall vest solely in the name of the United States of
18   America.
19        3.    The United States shall maintain custody of and control
20   over the subject property until it is disposed of according to law.
21        SO ORDERED THIS 17th day of March, 2006.
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23
24                                     /s/ Lawrence K. Karlton
                                       HONORABLE LAWRENCE K. KARLTON
25                                     Senior, United States District Judge
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